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                               UNITED STATES JUDICIAL PANEL
                                            on
                                MULTIDISTRICT LITIGATION


IN RE: COVID-19 BUSINESS INTERRUPTION
PROTECTION INSURANCE LITIGATION                                                           MDL No. 2942


                            ORDER DENYING TRANSFER
                  AND DIRECTING ISSUANCE OF SHOW CAUSE ORDERS


        Before the Panel:* There are two motions under 28 U.S.C. § 1407 to centralize pretrial
proceedings in this litigation. The first motion is brought by plaintiffs in the two Eastern District of
Pennsylvania actions listed on Schedule A (the Pennsylvania movants). The Pennsylvania movants
seek centralization of eleven actions in the Eastern District of Pennsylvania. The second motion is
brought by plaintiffs in seven actions pending in various districts (the Illinois movants).1 The Illinois
movants request centralization of fifteen actions (the eleven on the first motion and five others) in
the Northern District of Illinois.2 All fifteen actions, which are listed on Schedule A, assert
declaratory judgment and/or breach of contract claims against plaintiffs’ respective providers of
commercial property insurance. Plaintiffs allege that these policies provide coverage for business
interruption losses caused by the COVID-19 pandemic and the related government orders
suspending, or severely curtailing, operations of non-essential businesses. In addition to the fifteen
actions on the motions, the Panel has received notice of 263 related actions. Collectively, these
actions are pending in 48 districts and name more than a hundred insurers.

        Plaintiffs in more than 175 actions or related actions responded to the motions. Many of
these plaintiffs support centralization in one of the two districts proposed by movants. Other
plaintiffs suggest the Northern District of California, Southern District of Florida, the Western
District of Missouri, the District of New Jersey, and the Western District of Washington as potential
transferee districts for this litigation. Still other plaintiffs oppose centralization or ask to be excluded
from any MDL.

        Plaintiffs in more than thirty actions (some of which either support or oppose centralization


        *
            Judges Karen K. Caldwell and David C. Norton took no part in the decision of this matter.
        1
          These movants include plaintiffs in: Central District of California Caribe Restaurant &
Nightclub, Inc.; Southern District of New York Gio Pizzeria & Bar Hospitality, LLC; Northern
District of Ohio Bridal Expressions LLC; Southern District of Ohio Troy Stacy Enterprises Inc.;
District of Oregon Dakota Ventures, LLC; Northern District of Texas Berkseth-Rojas; and Eastern
District of Wisconsin Rising Dough Inc.
        2
            A sixteenth action on the second motion was voluntarily dismissed.
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in the first instance) propose that, instead of creating the “industry-wide” MDL requested by the
movants, the Panel should centralize these insurance coverage actions on a state-by state, regional,
or insurer-by-insurer basis. These proposals, which were raised for the first time in the parties’
responses to the motions, encompass claims against Certain Underwriters at Lloyd’s, London;
Cincinnati Insurance Company; The Hartford; State Farm; and Westchester Surplus Lines/Chubb.
These plaintiffs variously suggest ten districts for these narrower MDLs.

        In total, thirty-two insurers or insurer-groups named as defendants in the related actions
responded to the motions.3 Unlike plaintiffs, the defendants uniformly oppose centralization.
Several defendants, in their Notices of Presentation or Waiver of Oral Argument, indicated
alternative support for one or more potential transferee districts. In addition to these defendants, one
non-party insurer group and several amici curiae filed responses in opposition to centralization.

         After considering the arguments of counsel,4 we conclude that the industry-wide
centralization requested by movants will not serve the convenience of the parties and witnesses or
further the just and efficient conduct of this litigation. The proponents of centralization identify three
core common questions: (1) do the various government closure orders trigger coverage under the
policies; (2) what constitutes “physical loss or damage” to the property; and (3) do any exclusions
(particularly those related to viruses) apply. These questions, though, share only a superficial
commonality. There is no common defendant in these actions—indeed, there are no true multi-
defendant cases, as the actions involve either a single insurer or insurer-group (i.e., related insurers
operating under the same umbrella or sharing ownership interests). Thus, there is little potential for
common discovery across the litigation. Furthermore, these cases involve different insurance
policies with different coverages, conditions, exclusions, and policy language, purchased by different
businesses in different industries located in different states. These differences will overwhelm any
common factual questions.5

        The proponents of centralization argue that the insurers use standardized forms. Even so,


        3
         Two responses by defendant insurers were submitted after the close of briefing and were
not considered by the Panel. See Notices of Major Deficiency, MDL No. 2942 (J.P.M.L. July 24,
2020), ECF Nos. 755 & 756.
        4
         In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel heard
oral argument by videoconference at its hearing session of July 30, 2020. See Suppl. Notice of
Hearing Session, MDL No. 2942 (J.P.M.L. July 14, 2020), ECF No. 692.
        5
          Cf. In re Hotel Industry Sex Trafficking Litig., 433 F. Supp. 3d 1353, 1356 (J.P.M.L. 2020)
(“[E]ach action involves different alleged sex trafficking ventures, different hotel brands, different
owners and employees, different geographic locales, different witnesses, different indicia of sex
trafficking, and different time periods. Thus, unique issues concerning each plaintiff’s sex
trafficking allegations predominate in these actions. Indeed, there is no common or predominant
defendant across all actions, further indicating a lack of common questions of fact.”).
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                                                 -3-

there are many such “standardized” forms in circulation, and any form used by a given insurer will
have been modified in a unique way. While the policy language for business income and civil
authority coverages may be very similar among the policies, seemingly minor differences in policy
language could have significant impact on the scope of coverage.6

         Moreover, the proposed MDL raises significant managerial and efficiency concerns. A
transferee court would have to establish a pretrial structure to manage the hundreds of
plaintiffs—many with disparate views of the litigation—and more than one hundred insurers. The
court also would have to identify common policies with identical or sufficiently similar policy
language and oversee discovery that likely will differ insurer-to-insurer. To say this litigation would
result in a complicated MDL seems an understatement. Managing such a litigation would be an
ambitious undertaking for any jurist, and implementing a pretrial structure that yields efficiencies
will take time. As counsel emphasized during oral argument, however, time is of the essence in this
litigation. Many plaintiffs are on the brink of bankruptcy as a result of business lost due to the
COVID-19 pandemic and the government closure orders. An industry-wide MDL in this instance
will not promote a quick resolution of these matters.

         Put simply, the MDL that movants request entails very few common questions of fact, which
are outweighed by the substantial convenience and efficiency challenges posed by managing a
litigation involving the entire insurance industry. The proponents’ arguments that these problems
can be overcome are not persuasive. We therefore deny the motions for centralization.

         The proposals for regional and state-based MDLs raised by some of the responding plaintiffs
suffer from many of the same problems as the industry-wide motions. Although these MDLs would
be smaller, they still would involve multiple defendants with different policies, coverages,
exclusions, and endorsements. Any efficiencies with respect to common discovery and motion
practice would be outweighed by the unique discovery and motion practice as to each insurer. We
likewise deny these regional and state-based MDLs proposals.

       In contrast, the arguments for insurer-specific MDLs are more persuasive. Such an MDL
would be limited to a single insurer or group of related insurers and thus would not entail the
managerial problems of an industry-wide MDL involving more than a hundred insurers. The actions
are more likely to involve insurance policies utilizing the same language, endorsements, and
exclusions. Thus, there is a significant possibility that the actions will share common discovery and


       6
         The Illinois movants’ citation to the experience of the United Kingdom’s Financial Conduct
Authority (FCA) in reviewing property insurance policies is illustrative. The FCA, which operates
under a unitary legal system, reviewed property insurance policies from eight different insurers and
concluded that the policies issued in that one jurisdiction fell within seventeen different policy
categories. See Baker Decl. ¶ 7, Ex. A to the Illinois Movants’ Reply Br., MDL No. 2942 (J.P.M.L.
Jun. 15, 2020), ECF No. 544-1. An industry-wide MDL, encompassing more than a hundred
insurers and the laws of the fifty states, would entail far more differences. The example of the
FCA—which is operating using stipulated facts—thus weighs against centralization.
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pretrial motion practice. Moreover, centralization of these actions could eliminate inconsistent
pretrial rulings with respect to the overlapping nationwide class claims that most of the insurers face.
An insurer-specific MDL therefore could achieve the convenience and efficiency benefits envisioned
by Section 1407.

        That said, we will not attempt to create an insurer-specific MDL on the present record. The
proposals for insurer-specific MDLs were made midway through the briefing on the industry-wide
motions, and no motion for an insurer-specific MDL was filed. As a result, only a few insurers, and
few plaintiffs other than the movants, responded to the insurer-specific MDL proposals, which
themselves were often vague as to which actions would be included in a given MDL.7 The Panel
requires a better understanding of the factual commonalities and differences among these actions,
as well as the efficiencies that may or may not be gained through centralization, before creating an
insurer-specific MDL.

         Instead, we will direct the Clerk of the Panel to issue orders with respect to actions naming
four insurers or groups of related insurers—Certain Underwriters at Lloyd’s, London; Cincinnati
Insurance Company; the Hartford insurers;8 and Society Insurance—directing the parties to show
cause why those actions should not be centralized. See Panel Rule 8.1. With respect to these four
insurers or insurer groups, centralization may be warranted to eliminate duplicative discovery and
pretrial practice. Cognizant that delay should be avoided in this litigation to the extent possible, the
due date for responses to the show cause orders will be expedited by one week to ensure that the
Panel will be able to consider the matters at its next hearing session on September 24, 2020.

        With respect to the actions in this litigation involving other insurers, centralization does not
appear appropriate. There are alternatives to centralization available to minimize any duplication
in pretrial proceedings, including informal cooperation and coordination of the actions. The parties
also may seek to relate actions against a common insurer in a given district before one judge. Such
alternatives appear practicable as to these insurers, given the limited number of actions and districts
involved as to each.

      IT IS THEREFORE ORDERED that the motions for centralization of the actions listed on
Schedule A are denied.


       7
          In addition, many of the insurers are not named in any of the actions on the motions, but
only in actions noticed as related to those motions. This potentially presents a procedural obstacle
to any immediate centralization as to those insurers. See 28 U.S.C. § 1407(c) (requiring notice to
the parties that centralization of the actions is contemplated).
       8
          The Hartford insurers include: Hartford Financial Services Group, Inc.; Hartford Fire
Insurance Company; Hartford Casualty Insurance Company; Hartford Underwriters Insurance
Company; Sentinel Insurance Company Limited; and Twin City Fire Insurance Company. These six
insurers filed a joint response to the motions. See Hartford’s Interested Party Response at 1 & n.1,
MDL No. 2942 (J.P.M.L. Jun. 5, 2020), ECF No. 425.
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        IT IS FURTHER ORDERED that the Clerk of the Panel shall issue a show cause order as
to the actions listed on Schedule B. The show cause order shall be captioned “In re: Certain
Underwriters at Lloyd’s, London, COVID-19 Business Interruption Protection Insurance
Litigation.”

        IT IS FURTHER ORDERED that the Clerk of the Panel shall issue a show cause order as
to the actions listed on Schedule C. The show cause order shall be captioned “In re: Cincinnati
Insurance Company COVID-19 Business Interruption Protection Insurance Litigation.”

        IT IS FURTHER ORDERED that the Clerk of the Panel shall issue a show cause order as
to the actions listed on Schedule D. The show cause order shall be captioned “In re: Hartford
COVID-19 Business Interruption Protection Insurance Litigation.”

       IT IS FURTHER ORDERED that the Clerk of the Panel shall issue a show cause order as
to the actions listed on Schedule E. The show cause order shall be captioned “In re: Society
Insurance Company COVID-19 Business Interruption Protection Insurance Litigation.”

      IT IS FURTHER ORDERED that responses to the above show cause orders shall be due on
August 26, 2020, and replies on September 2, 2020.



                                    PANEL ON MULTIDISTRICT LITIGATION



                                    __________________________________________
                                                 Ellen Segal Huvelle
                                                    Acting Chair

                                    R. David Proctor             Catherine D. Perry
                                    Nathaniel M. Gorton          Matthew F. Kennelly
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IN RE: COVID-19 BUSINESS INTERRUPTION
PROTECTION INSURANCE LITIGATION                              MDL No. 2942


                                   SCHEDULE A

                Northern District of Alabama

     WAGNER SHOES LLC v. AUTO-OWNERS INSURANCE COMPANY,
         C.A. No. 7:20-00465

                Central District of California

     CARIBE RESTAURANT AND NIGHTCLUB, INC. v. TOPA INSURANCE
          COMPANY, C.A. No. 2:20-03570

                Middle District of Florida

     PRIME TIME SPORTS GRILL, INC. v. DTW 1991 UNDERWRITING LIMITED,
          C.A. No. 8:20-00771

                Southern District of Florida

     EL NOVILLO RESTAURANT, ET AL. v. CERTAIN UNDERWRITERS AT
          LLOYD’S LONDON, ET AL., C.A. No. 1:20-21525

                Northern District of Illinois

     BIG ONION TAVERN GROUP, LLC, ET AL. v. SOCIETY INSURANCE, INC.,
           C.A. No. 1:20-02005
     BILLY GOAT TAVERN I, INC., ET AL. v. SOCIETY INSURANCE,
           C.A. 1:20-02068
     SANDY POINT DENTAL PC v. THE CINCINNATI INSURANCE COMPANY,
           ET AL., C.A. No. 1:20-02160

                Southern District of New York

     GIO PIZZERIA & BAR HOSPITALITY, LLC, ET AL. v. CERTAIN UNDERWRITERS
           AT LLOYD’S, LONDON SUBSCRIBING TO POLICY NUMBERS ARP-
           74910-20 AND ARP-75209-20, C.A. No. 1:20-03107

                Northern District of Ohio

     BRIDAL EXPRESSIONS LLC v. OWNERS INSURANCE COMPANY,
          C.A. No. 1:20-00833
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            Southern District of Ohio

TROY STACY ENTERPRISES INC. v. THE CINCINNATI INSURANCE COMPANY,
     C.A. No. 1:20-00312

            District of Oregon

DAKOTA VENTURES, LLC, ET AL. v. OREGON MUTUAL INSURANCE CO.,
    C.A. No. 3:20-00630

            Eastern District of Pennsylvania

LH DINING LLC v. ADMIRAL INDEMNITY COMPANY, C.A. No. 2:20-01869
NEWCHOPS RESTAURANT COMCAST LLC v. ADMIRAL INDEMNITY
      COMPANY, C.A. No. 2:20-01949

            Northern District of Texas

BERKSETH-ROJAS DDS v. ASPEN AMERICAN INSURANCE COMPANY,
     C.A. No. 3:20-00948

            Eastern District of Wisconsin

RISING DOUGH, INC., ET AL. v. SOCIETY INSURANCE, C.A. No. 2:20-00623
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PROTECTION INSURANCE LITIGATION                              MDL No. 2942


                                   SCHEDULE B

                Middle District of Florida

     PRIME TIME SPORTS GRILL, INC. v. DTW 1991 UNDERWRITING LIMITED,
          C.A. No. 8:20-00771

                Southern District of Florida

     RUNWAY 84, INC. & RUNWAY 84 REALTY, LLC v. CERTAIN UNDERWRITERS
          AT LLOYD’S, LONDON, SUBSCRIBING TO CERTIFICATE NUMBER
          ARP–75203–20, C.A. No. 0:20–61161
     EL NOVILLO RESTAURANT, ET AL. v. CERTAIN UNDERWRITERS AT
          LLOYD’S LONDON, ET AL., C.A. No. 1:20-21525
     ATMA BEAUTY, INC. v. HDI GLOBAL SPECIALTY SE, ET AL.,
          C.A. No. 1:20–21745
     SUN CUISINE, LLC v. CERTAIN UNDERWRITERS AT LLOYD’S LONDON
          SUBSCRIBING TO CONTRACT NUMBER B0429BA1900350 UNDER
          COLLECTIVE CERTIFICATE ENDORSEMENT 350OR100802,
          C.A. No. 1:20-21827
     SA PALM BEACH LLC v. CERTAIN UNDERWRITERS AT LLOYDS LONDON,
          ET AL., C.A. No. 9:20-80677

                Central District of Illinois

     RJH MANAGEMENT CORP. v. CERTAIN UNDERWRITERS AT LLOYDS,
          LONDON SUBSCRIBING TO POLICY CERTIFICATE NO. TNR 198538,
          C.A. No. 3:20-03143

                Eastern District of Louisiana

     STATION 6, LLC v. CERTAIN UNDERWRITERS AT LLOYD’S LONDON,
          C.A. No. 2:20–01371

                District of New Jersey

     PALM AND PINE VENTURES, LLC v. CERTAIN UNDERWRITERS AT LLOYD’S
          LONDON, ET AL., C.A. No. 3:20–08212
     MDH GLOBAL, LLC v. CERTAIN UNDERWRITERS AT LLOYD’S LONDON,
          ET AL., C.A. No. 3:20–08214
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           Southern District of New York

GIO PIZZERIA & BAR HOSPITALITY, LLC, ET AL. v. CERTAIN UNDERWRITERS
      AT LLOYD’S, LONDON SUBSCRIBING TO POLICY NUMBERS ARP-
      74910-20 AND ARP-75209-20, C.A. No. 1:20-03107
632 METACOM, INC. v. CERTAIN UNDERWRITERS AT LLOYD’S, LONDON
      SUBSCRIBING TO POLICY NO. XSZ146282, C.A. No. 1:20–03905

           Eastern District of Pennsylvania

FIRE ISLAND RETREAT v. CERTAIN UNDERWRITERS AT LLOYDS, LONDON
       SUBSCRIBING TO POLICY NO. B050719MKSFL000081-00,
       C.A. No. 2:20–02312
INDEPENDENCE RESTAURANT GROUP, LLC v. CERTAIN UNDERWRITERS AT
       LLOYD’S, LONDON, C.A. No. 2:20–02365
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IN RE: COVID-19 BUSINESS INTERRUPTION
PROTECTION INSURANCE LITIGATION                               MDL No. 2942


                                     SCHEDULE C

                Middle District of Alabama

     EAGLE EYE OUTFITTERS, INC. v. THE CINCINNATI CASUALTY COMPANY,
          C.A. No. 1:20–00335
     PEAR TREE GROUP, LLC v. THE CINCINNATI INSURANCE COMPANY,
          C.A. No. 3:20–00382
     SNEAK & DAWDLE, LLC v. THE CINCINNATI INSURANCE COMPANY,
          C.A. No. 3:20–00383
     AUBURN DEPOT LLC v. THE CINCINNATI INSURANCE COMPANY,
          C.A. No. 3:20–00384

                Northern District of Alabama

     HOMESTATE SEAFOOD LLC v. THE CINCINNATI INSURANCE COMPANY,
          C.A. No. 2:20–00649
     SOUTHERN DENTAL BIRMINGHAM LLC v. THE CINCINNATI INSURANCE
          COMPANY, C.A. No. 2:20–00681

                Northern District of Illinois

     SANDY POINT DENTAL PC v. THE CINCINNATI INSURANCE COMPANY,
          ET AL., C.A. No. 1:20–02160
     3 SQUARES, LLC, ET AL. v. THE CINCINNATI INSURANCE COMPANY,
          C.A. No. 1:20–02690
     DEREK SCOTT WILLIAMS PLLC, ET AL. v. THE CINCINNATI INSURANCE
          COMPANY, C.A. No. 1:20–02806

                District of Kansas

     PROMOTIONAL HEADWEAR INT’L v. THE CINCINNATI INSURANCE
         COMPANY, INC., C.A. No. 2:20–02211

                Western District of Missouri

     STUDIO 417, INC. v. THE CINCINNATI INSURANCE COMPANY,
          C.A. No. 6:20–03127
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           Southern District of Ohio

TROY STACY ENTERPRISES INC. v. THE CINCINNATI INSURANCE COMPANY,
     C.A. No. 1:20–00312
TASTE OF BELGIUM LLC v. THE CINCINNATI INSURANCE COMPANY, ET AL.,
     C.A. No. 1:20–00357
SWEARINGEN SMILES LLC, ET AL. v. THE CINCINNATI INSURANCE
     COMPANY, ET AL., C.A. No. 1:20–00517

           Eastern District of Pennsylvania

MILKBOY CENTER CITY LLC v. THE CINCINNATI INSURANCE COMPANY,
     ET AL., C.A. No. 2:20–02036
STONE SOUP, INC. v. THE CINCINNATI INSURANCE COMPANY,
     C.A. No. 2:20–02614

           Western District of Pennsylvania

HIRSCHFIELD-LOUIK v. THE CINCINNATI INSURANCE COMPANY, ET AL.,
     C.A. No. 2:20–00816

           Southern District of West Virginia

UNCORK AND CREATE LLC v. THE CINCINNATI INSURANCE COMPANY,
    ET AL., C.A. No. 2:20–00401
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                                  SCHEDULE D

                Northern District of Alabama

     PURE FITNESS LLC v. THE HARTFORD FINANCIAL SERVICES GROUP INC.,
          ET AL., C.A. No. 2:20–00775

                District of Arizona

     FORFEX LLC v. HARTFORD UNDERWRITERS INSURANCE COMPANY, ET AL.,
          C.A. No. 2:20–01068
     JDR ENTERPRISES LLC v. SENTINEL INSURANCE COMPANY LIMITED, ET AL.,
          C.A. No. 4:20–00270

                Central District of California

     GERAGOS & GERAGOS ENGINE COMPANY NO. 28, LLC v. HARTFORD FIRE
          INSURANCE COMPANY, ET AL., C.A. No. 2:20–04647
     PATRICK AND GEOFF INVESTMENTS INC. v. THE HARTFORD, ET AL.,
          C.A. No. 2:20–05140
     ROUNDIN3RD SPORTS BAR LLC v. THE HARTFORD, ET AL.,
          C.A. No. 2:20–05159
     R3 HOSPITALITY GROUP, LLC v. THE HARTFORD, ET AL., C.A. No. 5:20–01182

                Northern District of California

     PROTEGE RESTAURANT PARTNERS LLC v. SENTINEL INSURANCE
          COMPANY, LIMITED, C.A. No. 5:20–03674

                Southern District of California

     PIGMENT INC. v. THE HARTFORD FINANCIAL SERVICES GROUP, INC., ET AL.,
          C.A. No. 3:20–00794

                District of Connecticut

     LITTLE STARS CORPORATION v. HARTFORD UNDERWRITERS INS. CO.,
          ET AL., C.A. No. 3:20–00609
     CONSULTING ADVANTAGE INC. v. HARTFORD FIRE INSURANCE COMPANY,
          ET AL., C.A. No. 3:20–00610
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RENCANA LLC, ET AL. v. HARTFORD FINANCIAL SERVICES GROUP, INC.,
      ET AL., C.A. No. 3:20–00611
COSMETIC LASER, INC. v. TWIN CITY FIRE INSURANCE COMPANY,
      C.A. No. 3:20–00638
DR. JEFFREY MILTON, DDS, INC. v. HARTFORD CASUALTY INSURANCE
      COMPANY, C.A. No. 3:20–00640
ONE40 BEAUTY LOUNGE, LLC v. SENTINEL INS. CO., LTD., C.A. No. 3:20–00643
PATS v. HARTFORD FIRE INSURANCE COMPANY, ET AL., C.A. No. 3:20–00697
DOTEXAMDR PLLC v. HARTFORD FIRE INS. CO., ET AL., C.A. No. 3:20–00698
KENNEDY HODGES & ASSOCIATES LTD., LLP, ET AL. v. HARTFORD
      FINANCIAL SERVICES GROUP, INC., ET AL., C.A. No. 3:20–00852
LEAL, INC. v. HARTFORD FINANCIAL SERVICES GROUP, INC., ET AL.,
      C.A. No. 3:20–00917
SA HOSPITALITY GROUP, LLC, ET AL. v. HARTFORD FIRE INSURANCE
      COMPANY, C.A. No. 3:20–01033

            District of District of Columbia

GCDC LLC v. THE HARTFORD FINANCIAL SERVICES GROUP, INC., ET AL.,
     C.A. No. 1:20–01094

            Northern District of Florida

FLORIDA WELLNESS CENTER OF TALLAHASSEE v. HARTFORD CASUALTY
     INSURANCE COMPANY, C.A. No. 4:20–00279

            Southern District of Florida

REINOL A. GONZALEZ, DMD, P.A. v. THE HARTFORD FINANCIAL SERVICES
     GROUP, INC., ET AL., C.A. No. 1:20–22151

            Northern District of Georgia

KARMEL DAVIS AND ASSOCIATES, ATTORNEY–AT–LAW, LLC v.
    THE HARTFORD FINANCIAL SERVICES GROUP, INC., ET AL.,
    C.A. No. 1:20–02181

            Southern District of Illinois

TAUBE v. HARTFORD FINANCIAL SERVICES GROUP, INC., ET AL.,
    C.A. No. 3:20–00565
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           Eastern District of Louisiana

Q CLOTHIER NEW ORLEANS, LLC, ET AL. v. TWIN CITY FIRE INSURANCE
     COMPANY, ET AL., C.A. No. 2:20–01470

           District of Massachusetts

RINNIGADE ART WORKS v. THE HARTFORD FINANCIAL SERVICES GROUP,
     INC., ET AL., C.A. No. 1:20–10867

           Southern District of Mississippi

THE KIRKLAND GROUP, INC. v. SENTINEL INSURANCE GROUP LTD.,
     C.A. No. 3:20–00496

           Eastern District of Missouri

ROBERT LEVY, D.M.D., LLC v. HARTFORD CASUALTY INSURANCE
     COMPANY, C.A. No. 4:20–00643

           District of New Jersey

AMBULATORY CARE CENTER, PA v. SENTINEL INSURANCE COMPANY,
     LIMITED, C.A. No. 1:20–05837
THE EYE CARE CENTER OF NEW JERSEY, PA v. THE HARTFORD FINANCIAL
     SERVICES GROUP INC., ET AL., C.A. No. 2:20–05743
LD GELATO LLC v. HARTFORD UNDERWRITERS INSURANCE CORPORATION,
     C.A. No. 2:20–06215
BACK2HEALTH CHIROPRACTIC CENTER, LLC v. THE HARTFORD FINANCIAL
     SERVICES GROUP, INC., ET AL., C.A. No. 2:20–06717
MARRAS 46 LLC v. TWIN CITY FIRE INSURANCE COMPANY,
     C.A. No. 2:20–08886
ADDIEGO FAMILY DENTAL, LLC v. HARTFORD FINANCIAL SERVICES
     GROUP, INC., ET AL., C.A. No. 3:20–05847
ADDIEGO ORTHODONTICS, LLC v. HARTFORD FINANCIAL SERVICES GROUP,
     INC., ET AL., C.A. No. 3:20–05882
SWEETBERRY HOLDINGS LLC v. THE HARTFORD FINANCIAL SERVICES
     GROUP, INC., ET AL., C.A. No. 3:20–08200
BLUSHARK DIGITAL, LLC v. THE HARTFORD FINANCIAL SERVICES GROUP,
     INC., ET AL., C.A. No. 3:20–08210
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           Eastern District of New York

METROPOLITAN DENTAL ARTS P.C. v. THE HARTFORD FINANCIAL
     SERVICES GROUP, INC., ET AL., C.A. No. 1:20–02443
BRAIN FREEZE BEVERAGE, LLC v. THE HARTFORD FINANCIAL SERVICES
     GROUP, INC., ET AL., C.A. No. 2:20–02157

           Southern District of New York

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